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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                      CASE NO.: 0:18-cv-61777

  JOHN J. DURANT,

                 Plaintiff,

  v.

  LAS OLAS YACHT GROUP, LLC,

                 Defendant.


                     COMPLAINT FOR COPYRIGHT INFRINGEMENT
                          (INJUNCTIVE RELIEF DEMANDED)

        Plaintiff JOHN J. DURANT by and through undersigned counsel, brings this Complaint

 against Defendant LAS OLAS YACHT GROUP, LLC for damages and injunctive relief, and in

 support thereof states as follows:

                                 SUMMARY OF THE ACTION

        1.      Plaintiff JOHN J. DURANT (“Durant”), brings this action for violations of

 exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy and distribute Durant’s

 original copyrighted works of authorship.

        2.      John Durant's work is sought after by architects, interior designers and magazines,

 builders, architectural product manufacturers and developers. Durant has photographed some of

 the most extraordinary structures including the San Diego Convention Center, Dell Children's

 Hospital in Austin, Texas, San Diego University Student Union building, One La Jolla building

 in San Diego, California, Fox Hollow residence in Paso Robels, California, Indigo Hotel and the

 Hilton Bayfront Hotel in San Diego, California, among others. Durant's clients include Safdie



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 Rabines Architects, NBBJ Architects, James Hubbell Architect, Norm Applebaum Architect,

 Homer Delawie Architect, Robert Palmer Architect.

         3.      Defendant LAS OLAS YACHT GROUP, LLC (“LOYG”) is a yacht brokerage

 firm that specializes in sailing yachts.

         4.      Durant alleges that LOYG copied Durant’s copyrighted Work from the internet in

 order to advertise, market and promote its business activities. LOYG committed the violations

 alleged in connection with LOYG’s business for purposes of advertising and promoting sales to

 the public in the course and scope of LOYG’s business.

                                    JURISDICTION AND VENUE

         5.      This is an action arising under the Copyright Act, 17 U.S.C. § 501.

         6.      This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

 §§ 1331, 1338(a).

         7.      Defendant is subject to personal jurisdiction in Florida.

         8.      Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)

 because the events giving rise to the claims occurred in this district, Defendant engaged in

 infringement in this district, Defendant resides in this district, and Defendant is subject to

 personal jurisdiction in this district.

                                            DEFENDANT

         9.      Las Olas Yacht Group, LLC is a Florida Corporation with its principal place of

 business at 1121 East Las Olas Boulevard, Fort Lauderdale, FL 33301, and can be served by

 serving its Registered Agent, Ms. Jennifer Harrington Relyea, 1121 East Las Olas Boulevard,

 Fort Lauderdale, FL 33301.




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                          THE COPYRIGHTED WORK AT ISSUE

         10.    Durant created a photograph which is shown below and referred to herein as the

 “Work”.




         11.    Durant registered the Work with the Register of Copyrights on July 11, 2012 and

 was assigned the registration number VAu 1-108-314. The Certificate of Registration is attached

 hereto as Exhibit 1.

         12.    At all relevant times Durant was the owner of the copyrighted Work at issue in

 this case.



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                                  INFRINGEMENT BY DEFENDANT

         13.     LOYG has never been licensed to use the Work at issue in this action for any

 purpose.

         14.     On a date after the Work at issue in this action was created, but prior to the filing

 of this action, LOYG copied the Work.

         15.     LOYG copied Durant’s copyrighted Work without Durant’s permission.

         16.     After LOYG copied the Work, it made further copies and distributed the Work on

 the internet to promote the sale of goods and services as part of its yacht brokerage business.

         17.     LOYG copied and distributed Durant’s copyrighted Work in connection with

 LOYG’s business for purposes of advertising and promoting LOYG’s business, and in the course

 and scope of advertising and selling products and services.

         18.     Durant’s Works are protected by copyright but are not otherwise confidential,

 proprietary, or trade secrets.

         19.     LOYG committed copyright infringement of the Work as evidenced by the

 documents attached hereto as Exhibit 2.

         20.     Durant never gave LOYG permission or authority to copy, distribute or display

 the Work at issue in this case.

         21.     Durant notified LOYG of the allegations set forth herein on March 29, 2018 and

 May 18, 2018. To date, the parties have failed to resolve this matter. Copies of the Notices to

 LOYG are attached hereto as Exhibit 3.

                                          COUNT I
                                   COPYRIGHT INFRINGEMENT

         22.     Plaintiff incorporates the allegations of paragraphs 1 through 21 of this Complaint

 as if fully set forth herein.

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           23.    Durant owns a valid copyright in the Work at issue in this case.

           24.    Durant registered the Work at issue in this case with the Register of Copyrights

 pursuant to 17 U.S.C. § 411(a).

           25.     LOYG copied, displayed, and distributed the Work at issue in this case and made

 derivatives of the Work without Durant’s authorization in violation of 17 U.S.C. § 501.

           26.    LOYG performed the acts alleged in the course and scope of its business

 activities.

           27.    Durant has been damaged.

           28.    The harm caused to Durant has been irreparable.

           WHEREFORE, the Plaintiff prays for judgment against the Defendant Las Olas Yacht

 Group, LLC that:

           a.     Defendant and its officers, agents, servants, employees, affiliated entities, and all

 of those in active concert with them, be preliminarily and permanently enjoined from committing

 the acts alleged herein in violation of 17 U.S.C. § 501;

           b.     Defendant be required to pay Plaintiff his actual damages and Defendant’s profits

 attributable to the infringement, or, at Plaintiff’s election, statutory damages, as provided in 17

 U.S.C. § 504;

           c.     Plaintiff be awarded his attorneys’ fees and costs of suit under the applicable

 statutes sued upon; and

           d.     Plaintiff be awarded such other and further relief as the Court deems just and

 proper.

                                            JURY DEMAND

           Plaintiff hereby demands a trial by jury of all issues so triable.


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 DATED: August 1, 2018                  Respectfully submitted,


                                        /s/ Joel B. Rothman
                                        JOEL B. ROTHMAN
                                        Florida Bar No: 98220
                                        joel.rothman@sriplaw.com
                                        ALEXANDER C. COHEN
                                        Florida Bar No.: 1002715
                                        alex.cohen@sriplaw.com

                                        SCHNEIDER ROTHMAN INTELLECTUAL
                                        PROPERTY LAW GROUP, PLLC
                                        4651 North Federal Highway
                                        Boca Raton, FL 33431
                                        561.404.4350 – Telephone
                                        561.404.4353 – Facsimile

                                        Attorneys for Plaintiff John J. Durant




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                SCHNEIDER ROTHMAN INTELLECTUAL PROPERTY LAW GROUP, PLLC
                     4651 NORTH FEDERAL HIGHWAY, BOCA RATON, FL 33431
